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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:14CR3011-2
      vs.
                                                   MEMORANDUM AND ORDER
DARIO CABALLERO-ARREDONDO,
                    Defendant.


       Based on the representations of government’s counsel, additional time is needed to
allow the government and the defendant sufficient time to negotiate a settlement of this
matter, and allow the government to efficiently allocate it’s resources for trial. The
defendant agreed, and further agreed that the time between today and an additional status
conference should be excluded from the time limitations of the Speedy Trial Act so that
the case can be fairly and justly resolved.
       Accordingly,

       IT IS ORDERED:

      1)     Government’s unopposed motion to continue trial (filing 82) is granted.

      2)     A status conference is set at 9:30 a.m. on November 17, 2014 before the
             undersigned magistrate judge in Courtroom 2, United States Courthouse
             and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska to
             discuss case progression and a potential trial setting.

      3)     The Court further finds that the time between today’s date and November
             17, 2014 shall be deemed excludable time in any computation of time under
             the requirements of the Speedy Trial Act, because despite counsel’s due
             diligence, additional time is needed to adequately prepare this case for trial
             and failing to grant additional time might result in a miscarriage of justice.
             18 U.S.C. § 3161(h)(1) & (h)(7).


      October 22, 2014.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
